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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR ) Civil Action
PRESIDENT, INC. ef al., )
)
Plaintiffs, )
) No.: 2-20-CV-966
V. , )
)
KATHY BOOCKVAR; ef ai., }
).
Defendants. ) Judge J. Nicholas Ranjan

ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE
OF CHRISTINA L. HAUSNER

AND NOW, to wit, this day of July 2020, upon consideration of the
foregoing Motion for Admission Pro Hac Vice of Christina L. Hausner, it is hereby ORDERED
that this motion is GRANTED. |

AS SUCH, Christina L. Hausner, Solicitor for the County of Lancaster, Pennsylvania, is
hereby admitted to practice in the United States District Court for the Western District of

Pennsylvania in the above-captioned case on behalf of the Lancaster County Board of Elections.

BY THE COURT:

fo
J. NICHOLAS RANJAN, J.

 

 
